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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
In Re: Pankaj L Patel Chapter 7
Jyotiben H Patel Case No. l7-30759-KKS
Debtor(s).
/

 

TRUSTEE’S MOTION FOR AUTHORITY TO SELL REAL PROPERTY
OF THE ESTATE PURSUANT;_I`O 11 U.S.C. § 363|b)|1[

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth on
the proof of service plus an additional three days for service if any party was
served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr.
P. 9006(1'). If you object to the relief requested in this paper, you must tile an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy on the
Trustee, Mary W. Colon, Trustee, P. O. Box 14596, Tallahassee, FL 32317, and
any other appropriate person within the time allowed. If you file and serve a
response within the time permitted, the Court will either schedule and notify
you of a hearing or consider the response and grant or deny the relief requested
without a hearing. If you do not file a response within the time permitted, the
Court will consider that you do not oppose the relief request in the paper, will
proceed to consider the paper without further notice or hearing, and may grant
the relief requested.

 

 

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COMES NOW, MARY W. COLON, as Trustee in Bankruptcy, by and
through her undersigned counsel, and, pursuant to ll U.S.C. §§ 105(a) & 363, and
Rule 6004, Federal Rules of Bankruptcy Procedure, moves this Court for an Order
authorizing the sale and transfer of certain property of the estate under the terms and
conditions set forth below, stating as follows:

1. Among the assets of the Estate is the following described property
(the “Property”):

Legal- Lot 7, Block A, less the Northerly 20 feet thereof, of LINDSKOG
SUBDIVISION, a subdivision of a portion of Section ll, Township 2 South,
Range 31 West, Escambia County, Florida, according to the Plat thereof as
recorded in Plat Book 1, Page(s) 79, of the Public Records of said County.

Property - Address: 7100 Lindskog St. Pensacola, FL 32506

By this Motion, the Trustee seeks authority to sell the Property at a private
sale on the following terms and conditions, With the Trustee paying the
following costs at the closing of the sale:

Proposed Purchaser Sale Price DL Recording _”l_`g;ca_l
_ Stamps E

7100 Lindskog St. $3,500.00 $545.00 $18.50 $4,063.50
Pensacola Land Trust,
CDC Capital
Investments LLC as
Trustee

3. The Trustee is not aware of any relationship between the Proposed

Purchaser and parties in interest. Additionally, the Trustee believes the selling

price is fair and reasonable because, amongst other things, the property is being

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sold subject to` any and all liens of record.

4. This property is being sold “As, Is, Where Is” With no warranties of
any kind. The Trustee makes no representation or warranty of no liens. Any liens

the Trustee believes to be existing are listed below:

Lienholder Amount Secured Interest
Nationstar Mortgage $74,297.00 First Mortgage
P.O. Box;619063
Dallas, TX 75261
5. Trustee has noted all liens of which he has knowledge However, the

Trustee has not performed a judgment or lien search. The property is being sold
subject to any and all liens of record, as well as any and all easements, restrictions
and reservations of record, and back taxes, if any, and current and subsequent taxes.

Buyer is responsible for checking marketability of title prior to date of sale.

6. The Trustee is contemporaneously filing a Notice ofTrustee ’s ]ntention

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to Sell Non-exempt Property of the Estate.

Basis for Relief Reguested
7. Section 363 (b)(l) of the Bankruptcy Code provides that “[t]he trustee,

after notice and a hearing, may use, sell, or lease, other than in the ordinary course

of business, property of the estate.” ll U.S.C. § 363(b)(1).

8. The Trustee has fully investigated the marketability of the Property
and the value of the Property, and in the Trustee’s business judgment, believes that
the proposed sale of the Property represents the highest and best offer attainable for
the Property. The Trustee represents that the proposed sale was negotiated in good
faith and at arm’s length, is fair and equitable and in the best interests of the

Bankruptcy Estate, and represents a reasonable recover for the Bankruptcy Estate,

The Trustee asserts that Sound business reasons justify the Trustee’s decision to

sell the Property upon the terms set forth above.
9. Rule 6004(h) of the Federal Rules of Bankruptcy Procedure provides

that “[a]n order authorizing the sale, use or lease of property other than cash
collateral is stayed until the expiration of 14 days after entry of the order, unless

the court orders otherwise.” The Trustee requests the Court waive such l4-day

 

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stay and order that such relief be effective immediately upon entry of an Order

authorizing sale of the Property.

 

NOTICE: Pursuant to Section 201.02, Florida Statutes, the documentary
stamp tax on this sale is calculated by including, as part of the consideration
for such transfer, the outstanding principal amount of the mortgage(s)
encumbering the property. At the time of the sale, the Trustee will collect any
applicable documentary stamp tax, as Well as estimated recording charges of
318.50, and arrange for recording of the Trustee’s Deed.

 

 

WHEREFORE, Trustee prays for authority to sell the above described

property in accordance with the terms stated herein.
Respectfully Submitted this 09/15/17.

/s/ Mag W. Colon
MARY W. COLON

CHAPTER 7 TRUSTEE

P.O. Box14596

Ta||ahassee, Florida 32317

PH: 850.241.0144
TRUSTEE@|V|ARYCOLON.COM

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CLOSING STATEMENT

SELLER: Mary W. Colon, Esq., Chapter 7 Trustee
For Estate of Pankaj L Patel, Jyotiben H Patel
United States Bankruptcy Court Case No.: l7-30759-KKS

BUYER: 7100 Lindskog St. Pensacola Land Trust, CDC Capital Investments
LLC as Trustee

PURCHASE PRICE: $3,500.00
PROPERTY: 7100 Lindskog St. Pensacola, FL 32506

CLOSING AGENT: N/A

CLOSING DATE: , 2017
I. SUMMARY OF BUYER’S TRANSACTION

 

A. Gross Amount Due from Buyer
l. Purchase Price $ 3,500.00
2. Recording Fees - Deed $ 18.50
3. Documentary Stamps (Based upon judgment MORTGAGE liens
With approximate balance of
$74,297 ............................................................. $545.00
4. Filing Fee (reimbursed to Trustee)
5. Photocopies and Postage (reimbursed to Trustee)

B. Net Amount Due from Buyer $4,063.50
II. SUMMARY OF SELLER’S TRANSACTION

A. Gross Amount Due to Seller
l. Sales price $ 3500.00

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2. Reimbursement of Filing Fee
3. Reimbursement for Photocopies and Postage

B. Reductions in Amount Due Seller $ 0.00
C. Net Amount due to Seller $ 3500.00

III. RECEIPTS AND DISBURSEMENTS

A. Receipts
1. Buyer $4,063.50
B. Disbursements
l. Clerk of Court $563.50
2. Seller $3500.00
TOTAL $4,063.50
The undersigned acknowledge receipt of this Closing Statement, agree to the
correctness of it and authorize the disbursement of funds as shown above.

 

 

SELLER BUYER

Mary W. Colon 7100 Lindskog St. Pensacola Land
Trust CDC Capital Investments
LLC as Trustee

Chapter 7 Trustee

 

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UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRICT OF FLOR|DA

lN RE: PANKAJ L PATEL CASE NOZ 17-30759

~'YOT'BEN H PATE'- oEcLARATloN oF MA|L|NG
cERTlFchTE oF sEvacE

Chapter: 7

ECF Docket Reference No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

 

On 9/15/2017, l did cause a copy of the following documents, described below,
REPORT AND NOT|CE OF |NTENT|ON TO SELL PROPERTY OF THE ESTATE BY PR|VATE SALE,
TRUSTEE’S MOT|ON FOR AUTHOR|TY TO SELL REAL PROPERTY OF THE ESTATE

to be served for delivery by the United States Posta| Service, via First Class United States lV|ai|, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibitl a copy of which is attached hereto and
incorporated as if fully set forth herein.

l caused these documents to be sawed by utilizing the services of BK Attorney Services, LLC d/b/a certiticateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.

Bankr.P. 9001(9) and 2002(9)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.

DATED: 9/‘| 5/2017

LSLMRMQLQLI
Mary Co|on 184012

Mary Co|on Trustee

P.O. Box 14596
Ta||ahassee, FL 32317
813 994 9598
potthast.chuck@gmail.com

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UN|TED STATES BANKRUPTCY COURT
NORTHERN D|STR|CT OF FLOR|DA

|N RE: PANKAJ L PATEL CASE NO: 17-30759

JYOT'BEN "' PATEL cEerFchTE oF sEvacE
oEcLARA'noN oF MAiLlNe

Chapter: 7

ECF Docket Referenoe No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

On 9/15/2017, a copy of the following documents, described below.
REPORT AND NOT|CE OF |NTENTlON TO SELL PROPERTY OF THE ESTATE BY PR|VATE SALEl
TRUSTEE'S MOT|ON FOR AUTHOR|TY TO SELL REAL PROPERTY OF THE ESTATE

were deposited for delivery by the United States Postal Service. via First Class United States Nlai|. postage prepaid, with suthcient
postage thereon to the parties listed on the mailing matrix exhibitl a copy of which is attached hereto and incorporated as if fully set forth

herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that l have served the above referenced

document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge. information. and belief.

DATED£ 9/15/2017

D__

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofselvice.com, for
Mary Co|on Trustee

Mary Co|on

P.O. Box 14596

Ta||ahassee, FL 32317

 

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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVBD VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

l LABEL MATRIX FOR LOCAL NOTICING
11293

CASE 17-30759-KKS

NORTHERN DISTRICT OF FLORIDA
PENSACOLA

FRI SEP 15 11-29-14 EDT 2017

4 CHEX S¥STEMS

7805 HUDSON RD STE 100
ATTN- CUSTOMER RELATIONS
SAINT PAUL MN 55125-1703

7 CRAIG OLMSTEAD
234 OFFICE PARK AVE
GULF SHORES AL 36542-3432

10 DEPARTMBNT OF THE TREASURY
PO BOX 830794
BIRMINGHAM AL 35283-0794

13 EXPBRIAN
475 ANTON RD
COSTA MESA CA 92626-7037

16 HOSPITALITY INTBRNATIONAL INC
990 HAMMOND DRIVE
ATLANTA GA 30328-5529

19 SMALL BUSINESS ADMINISTRATION
801 TOM MARTIN DRIVE SUITE 120
BIRMINGHAM AL 35211-6424

22 TRANSUNION DISPUTES
PO BOX 900
WOODLYN PA 19094~0900

25 UNITED STATES ATTORNEYS OFFICE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

21 E GARDEN ST STE 400

PENSACOLA FL 32502~5675

2 PRA RECEIVABLES MANAGEMENT LLC
PO BOX 41021
NORFOLK VA 23541-1021

5 COHEN GOLDSTIEN GOTTLIEB LLP
LEB S GOLDSTIEN ESQ

990 HAMMOND DRIVE

STE 990

ATLANTA GA 30328~5519

8 DEKALB COUNTY CLERK OF COURT
556 N MCDONOUGH ST

15CV4427-9

DECATUR GA 30030-3355

ll DISCOVER CARD
PO BOX 71084
CHARLOTTE NC 28272-1084

14 GLOBAL CLIENT SOLUTIONS
4500 5 129TH EAST AVE

STE 177

TULSA OK 74134-5870

17 ISH HOSPITALITY LLC
8837 HWY 87 SOUTH
MILTON FL 32583-7530

20 SMALL BUSINESS ADMINISTRATION
PO BOX 740192
ATLANTA GA 30374-0192

23 UNITED BANK
PO BOX 8
ATMORE AL 36504-0008

26 UNITED STATBS DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

l N PALAFOX ST
14-CV-00565-RV-CJK

PENSACOLA FL 32502~5665

3 BANK OF AMERICA
4500 S 129TH AVE
STE 177

TULSA OK 74134

6 CONSERVE
PO BOX 1528
FAIRPORT NY 14450-7528

9 INTERNAL REVENUE SBRVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

12 EQUIFAX DISPUTES
PO BOX 740256
ATLANTA GA 30374-0256

15 GULF WINDS FEDERAL CREDIT UNION
220 EAST NINE MILE ROAD
PENSACOLA FL 32534-3145

18 NATIONSTAR MORTGAGE
PO BOX 619063
DALLAS TX 75261-9063

21 SMALL BUSINESS ADMINISTRATION
ST LOUIS DISTRICT OFFICE

1222 SPRUCE ST

ST 10103

SAINT LOUIS MO 63103-2818

24 UNITED STATES ATTORNEY GENERAL
OF THE NORTHBRN DISTRICT OF FL
111 N ADAMS ST

4TH FLOOR

TALLAHASSEE FL 32301-7730

27 UNITED STATES TRUSTEE
110 E PARK AVENUE

SUITE 128

TALLAHASSEE FL 32301-7728

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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS “CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

23 WHITNEY BANK A MISSISSIPPI STATE 29 JYOTIBBN H PATEL 30 MARTIN S LEWIS
CHARTERED BANK FORMERLY KNOWN AS 8837 HWY 87 SOUTH LEWIS JURNOVOY PA
HANCOCK BANK MILTON FL 32583_7530 1100 NORTH PALAFOX ST
2510 14TH ST PENSACOLA FL 32501-2508

GULFPORT MS 39501-1948

DEBTOR
31 MARY W COLON 32 PANKAJ L PATEL
PO BOX 14596 8837 HWY 87 SOUTH

TALLAHASSEE FL 32317-4595 MILTON FL 32583-7530

